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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                            CRIMINAL ACTION NO. 05-50079-02
                                                     [CIVIL ACTION NO. 07-1750]

 VERSUS                                              JUDGE S. MAURICE HICKS, JR.

 JASON RAKEL                                         MAGISTRATE JUDGE HORNSBY

                            CERTIFICATE OF APPEALABILITY

        A final order was entered in this case on March 24, 2011. See Record Document

 71. Pursuant to Rule 11(a) of the Rules Governing 2255 proceedings for the United States

 District Courts, this Court must issue or deny a certificate of appealability when it enters a

 final order adverse to the applicant. “Before entering the final order, the court may direct

 the parties to submit arguments on whether a certificate should issue.” Rule 11(a) Rule

 Governing Section 2255 Proceedings for the United States District Courts (emphasis

 added). Unless a Circuit Justice or District Judge issues a certificate of appealability, an

 appeal may not be taken to the court of appeals.

        In this instance, a certificate of appealability is DENIED because the applicant has

 failed to demonstrate a substantial showing of the denial of a constitutional right.

        THUS DONE AND SIGNED, in Shreveport, Louisiana, this 12th day of April, 2011.
